                                              Case
                                               Case2:16-cr-00046-GMN-NJK
                                                     2:16-cr-00046-GMN-PAL Document
                                                                           Document1018  Filed11/22/16
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                                             BRET O. WHIPPLE, ESQ
                                         1
                                             Nevada Bar Number 6168
                                         2   JUSTICE LAW CENTER
                                             1100 S. Tenth Street
                                         3   Las Vegas, Nevada 89104
                                             (702) 731-0000
                                         4
                                             Counsel for Defendant
                                         5
                                         6                             UNITED STATES DISTRICT COURT
                                         7
                                                                               DISTRICT OF NEVADA
Tel (702) 731-0000 Fax (702) 974-4008




                                         8
                                         9   THE UNITED STATES OF AMERICA,
      JUSTICE LAW CENTER




                                                                                                    CASE NO.: 2:16-cr-00046-GMN-PAL-1
                                        10                                         Plaintiff,

                                        11   vs.
                                                                                                    DEFENDANT CLIVEN D. BUNDY’S
                                        12                                                         MOTION FOR EXTENSION OF TIME
                                             CLIVEN D. BUNDY,
                                        13                                                          FOR THE FILING OF REPLIES TO
                                                                                                          DOCS. 984 AND 985
                                        14                                        Defendant.
                                        15
                                        16
                                        17          Defendant, CLIVEN D. BUNDY, by and through his counsel, Bret O. Whipple, Esq.,
                                        18   of Justice Law Center, hereby moves this Court for an extension of time for the filing of replies
                                        19
                                             to Docs 984 and 985.
                                        20
                                                    Defendant notes that the United States ultimately had from October 17, 2016 until
                                        21
                                        22   November 16, 2016 to file their response(s) to the Defendant’s Motions, and Defendant did not

                                        23   object (and does not object) to the continuance granted to the United States in Order 936.
                                        24   Undersigned counsel has reached out to the United States to attempt to stipulate to the present
                                        25
                                             request on this morning of November 22, 2016. Undersigned counsel has received an e-mail
                                        26
                                             from the United States indicating that they do not oppose this requested continuance.
                                        27
                                                                                          1
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                                              Case
                                               Case2:16-cr-00046-GMN-NJK
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                                                      Undersigned counsel has been in trial in the Eighth Judicial District Court of the State
                                         1
                                         2   of Nevada in Case C-11-273560-2 (State of Nevada v. Coache) since November 7, 2016. See

                                         3   Exhibit A, Case Docket Sheet. Trial is scheduled to end this week with closing statements
                                         4
                                             expected to be given today November 22, 2016. As such, undersigned counsel has either been
                                         5
                                             in trial or, on the weekends, preparing for the upcoming witnesses throughout the last two
                                         6
                                         7   weeks.
Tel (702) 731-0000 Fax (702) 974-4008




                                         8            While undersigned counsel appreciates that this Court must adjudicate the motions in a
                                         9
      JUSTICE LAW CENTER




                                             timely matter, he respectfully requests a brief (unopposed) continuance extending the reply
                                        10
                                             deadline as to Documents 984-985 until this upcoming Monday November 28, 2016.
                                        11
                                                      DATED this 22nd day of November, 2016.
                                        12
                                        13                                                         JUSTICE LAW CENTER

                                        14                                                         ___/S/ Bret O. Whipple___
                                                                                                   Bret O. Whipple, Esq.
                                        15                                                         Nevada Bar No. 6168
                                        16                                                         1100 S. Tenth Street
                                                                                                   Las Vegas, Nevada 89104
                                        17
                                        18
                                        19       IT IS SO ORDERED this 22nd day
                                        20       of November, 2016.

                                        21
                                                 _____________________________
                                        22
                                                 Peggy A. Leen
                                        23       United States Magistrate Judge

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                                               Case2:16-cr-00046-GMN-NJK
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                                                                          CERTIFICATION OF SERVICE
                                         1
                                         2          I hereby certify that on the 22nd day of November, 2016, a true and correct copy of the

                                         3   foregoing Motion for Extension of Time was delivered via E-filing to:
                                         4
                                             DANIEL BOGDEN
                                         5   United States Attorney

                                         6   STEVEN MYHRE
                                         7   First Assistant United States Attorney
Tel (702) 731-0000 Fax (702) 974-4008




                                         8   NICHOLAS DICKINSON
                                             Assistant United States Attorney
                                         9
      JUSTICE LAW CENTER




                                        10   NADIA AHMED
                                             Assistant United States Attorney
                                        11
                                             ERIN M. CREEGAN
                                        12   Assistant
                                        13   United States Attorney

                                        14   501 Las Vegas Blvd. South, Suite 1100
                                              Las Vegas, NV 89101
                                        15
                                        16
                                                                                                   /S/ Tatum Wehr___
                                        17                                                      An Employee of Justice Law Center
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